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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     REALPAGE, INC.,                                     Case No. 25-cv-03004-JSC
                                                         Plaintiff,
                                   8
                                                                                             ORDER RE: PRELIMINARY
                                                 v.                                          INJUNCTION SCHEDULE AND
                                   9
                                                                                             DISCOVERY
                                  10     CITY OF BERKELEY, et al.,
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court is in receipt of the parties’ joint statement regarding the schedule on Plaintiff’s

                                  14   motion for a preliminary injunction. (Dkt. No. 47.) As it pertains to the preliminary injunction

                                  15   motion, the Court sets the following schedule:

                                  16          Discovery Opens:                                           May 5, 2025

                                  17          Deadline to File Motion:                                   May 30, 2025

                                  18          Deadline to File Opposition:                               July 18, 2025

                                  19          Deadline to File Reply:                                    August 1, 2025

                                  20          Discovery Closes:                                          August 1, 2025

                                  21          Hearing:                                                   August 28, 2025

                                  22          As indicated by the above schedule, the Court denies RealPage’s request for an

                                  23   enlargement of time—beyond what Defendants agreed to—to file its reply. And the Court denies

                                  24   Defendants’ premature request for automatic leave to file a sur-reply.

                                  25          As to the discovery disputes in the parties’ joint statement, the Court rejects Defendants’

                                  26   request to “open discovery at this time . . . only as to RealPage and any relevant third parties.”

                                  27   (Dkt. No. 47 at 16.) City of Las Vegas v. Foley, 747 F.2d 1294, 1297 (9th Cir. 1984), the case

                                  28   upon which Defendants primarily rely, does not stand for the proposition that Defendants—as a
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                                   1   city and city manager—are categorically immune from discovery requests. In Foley, the Ninth

                                   2   Circuit considered whether “legislators can be deposed solely to determine their subjective

                                   3   motives for enacting ordinances challenged as violative of the First Amendment.” The Ninth

                                   4   Circuit found no basis for deposing officials “to determine their individual motives for enacting

                                   5   the regulation.” Id. at 1299. So, it “direct[ed] the district court to determine whether and to what

                                   6   extent deposition testimony may be useful, limited to establishing relevant objective

                                   7   circumstances under which the ordinance was enacted.” Id. The opinion did not impose a blanket

                                   8   prohibition on seeking discovery from legislators, or as in this case, from a municipality.

                                   9          The Court also declines to impose Defendants’ proposed 5-, 7-, and 10-day discovery

                                  10   deadlines. Given the schedule set forth above, the parties should meet and confer about

                                  11   reasonable deadlines for serving responses. The Court directs the parties to its standing order,

                                  12   which provides two options for presenting discovery disputes in the event the parties cannot reach
Northern District of California
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                                  13   resolution.

                                  14          IT IS SO ORDERED.

                                  15   Dated: May 1, 2025

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                                                                                                    JACQUELINE SCOTT CORLEY
                                  18                                                                United States District Judge
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